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1    PETER C. ANDERSON
     United States Trustee
2    Michael Hauser (SBN 140165)
     Attorney for the U.S. Trustee
3    Ronald Reagan Federal Building
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4
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6
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7

8
                             UNITED STATES BANKRUPTCY COURT
9                    CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10
     In re:                                          CASE NUMBER: 8:23-bk-10898-TA
11

     Jeffrey S. Beier,                               CHAPTER 11
12

13

14
                                                     REPLY OF U.S. TRUSTEE TO DEBTOR’S
15                                                   OPPOSITION TO MOTION BY UNITED
                                                     STATES TRUSTEE TO DISMISS CASE OR
16                                                   CONVERT CASE TO ONE UNDER CHAPTER
                                                     7 PURSUANT TO 11 U.S.C.§ 1112(b)
17

18                                  Debtor

19

20

21

22

23                                                   DATE: June 7, 2023
                                                     TIME: 10:00 A.M.
24                                                   CTRM: 5B
25
              TO THE HONORABLE THEODOR ALBERT, CHIEF JUDGE, UNITED STATES
26
     BANKRUPTCY COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA, AND PARTIES IN
27
     INTEREST:
28


                                                 1
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1
                                                      I.
2
                                                INTRODUCTION
3
            The U.S. Trustee files this reply to the Debtor’s opposition to the U.S. Trustee’s motion to
4
     dismiss or convert case to chapter 7. The initial basis for the U.S. Trustee’s motion was that the
5
     Debtor has not complied with any of the U.S. Trustee’s Guidelines and Requirements for
6
     Chapter 11 Debtors In Possession. Since the filing of the motion the Debtor provided a
7
     compliance package to the U.S. Trustee which is deficient and raises concerns sufficient to lead
8
     the U.S. Trustee to conclude that the Debtor cannot serve as the fiduciary in this case.
9
            First, as noted in the opposition, the Debtor has yet to obtain insurance on the Trabuco
10
     Canyon Property, which is a rental property valued at approximately $3 million. The property,
11
     which is managed by the Debtor’s brother, has been rented out since November 2017, and in
12
     2022 alone, $90,000 in rents was collected. At the same time, the Debtor has not made a
13
     mortgage payment on the property since 2009. Pocketing all the rents while not insuring the
14
     property is indefensible. Accordingly, the debtor is not capable of acting as a fiduciary in this
15
     case. Scrambling to put insurance in place at this juncture will not cure this problem.
16
            Second, the Debtor’s compliance package reflects that the last time he filed his tax
17
     returns was 2017 even though he has collected substantial rental income since 2018. Further,
18
     the Debtor’s schedules do not list any taxing agencies such as the IRS or FTB. In fact, other
19

20
     than the bank and the tenant at the rental property, the only other creditors listed in this case are

21
     the Debtor’s parents and brother.

22          Third, the Debtor’s opposition states that he has opened a debtor-in-possession bank

23   account. However, the opposition fails to disclose that the Debtor’s mother opened the account

24   in his name using a power of attorney. The U.S. Trustee has not been provided a copy of the

25   power of attorney. In any event, given the facts surrounding this case, neither the Debtor nor his

26   family members should be entrusted with access to estate funds.

27          Fourth, the compliance package states that the Trabuco Canyon Property is owned by a
28   trust but fails to provide the trust instrument.

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1              Fifth, as discussed below, the Debtor’s argument that “unusual circumstances” exist in
2    this case fails to properly address the legal standard set forth in section 1112(b)(2) of the Code.
3              Finally, the Debtor did not disclose a pending criminal matter on his statement of financial
4    affairs.
5              The Supreme Court has held that bankruptcy is a privilege not a right1. Additionally,
6    Bankruptcy Court is a court of equity, and it is axiomatic that one who seeks equity must come
7
     before this Court with clean hands. Here, the Debtor’s conduct does not present the requisite
8
     clean hands to allow him to continue as a fiduciary in this case.
9

10                                                      II.
                                                STATEMENT OF FACTS
11
               A. The Debtor’s Compliance Package
12
               After the U.S. Trustee filed his motion, the Debtor provided the U.S. Trustee with a
13
               compliance package which, as detailed below, is materially deficient. See redacted
14
               compliance package at Exhibit C, attached hereto.
15
               B. Failure to Provide Proof of Insurance
16
               The Debtor’s opposition acknowledges that it has yet to provide proof of insurance on the
17
               Trabuco Canyon Property. See Opp. at 3:6-10.
18
               C. Management of Trabuco Canyon Property
19

20
               The Debtor’s brother is Steven Beier. See Exhibit C, bates stamp page 5. The Trabuco

21
               Canyon Property is managed by an entity named National Professional Services which is

22             owned by Steven Beier. See Exhibit C, bates stamp page 16. The property has been

23             rented out pursuant to a five-year lease agreement executed in 2017 in which National

24             Professional Services is named as the Debtor’s agent to collect the rents. See Exhibit C,

25             bates stamp pages 20-28. According to the Debtor’s statement of financial affairs, in

26             2021 the Debtor collected $78,000 in rents and in 2022 he collected $90,000 in rents. See

27

28
     1
         Grogan v. Garner, 498 U.S. 279, 286-287 (1991).
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1      UST’s Motion at Exhibit B, bates stamp page 51, and dec of Debtor to motion to reimpose
2      stay at Exhibit E. The Debtor has not made a mortgage payment on the property since
3      2009. See Exhibit C, bates stamp page 17 and Bank’s opp to reimpose stay at Exhibit F.
4      Steven Beier is also listed as a creditor on Schedule F in the amount of $150,000. See
5      UST’s Motion at Exhibit B, bates stamp page 37.
6      D. Failure to File Taxes Since 2018
7
       The Debtor’s compliance package reflects that the last time he filed his tax returns was
8
       2017. See Exhibit C, bates stamp pages 41-43. The Debtor’s explanation for not filing
9
       tax returns since 2018 is that he “…believed that he was not required to file tax returns
10
       because his income was derived from foreign sources.” See Exhibit C, at bates stamp
11
       page 6. The Debtor’s schedules do not list any taxing agencies such as the IRS or FTB.
12
       In fact, other than the bank and the tenant at the rental property, the only other creditors
13
       listed in this case are the Debtor’s parents and brother. See UST’s Motion at Exhibit B,
14
       bates stamp pages 33-37.
15
       E. Use of Power of Attorney to Set up Debtor-in-Possession Account
16
       The Debtor’s parents are Gary and Patricia Beier. See Exhibit C, bates stamp page 5.
17
       The Debtor provided the UST with proof of opening a DIP account. See redacted DIP
18
       documentation at Exhibit D attached hereto. According to the documentation the Debtor’s
19
       mother, Patricia Beier, opened the account in his name using a power of attorney. See
20
       Exhibit D, bates stamp pages 59 and 61. The U.S. Trustee has not been provided a copy
21
       of the power of attorney. The Debtor’s parents are also listed as creditors on Schedule F
22
       in the amount of $500,000. See UST’s Motion at Exhibit B, bates stamp page 36.
23
       F. Failure to Provide Trust Instrument
24

25
       The Debtor’s compliance package states the Trabuco Canyon Property is owned by a

26
       trust. See Exhibit C, bates stamp pages 8-11. The compliance package requirements

27     include providing the U.S Trustee with a copy of trust instruments created by the Debtor.

28     See Exhibit C, bates stamp pages 6 and 8. However, the Debtor’s compliance package

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1             states that the Debtor is still attempting to locate the trust instrument. See Exhibit C, bates
2             stamp page 38.
3             G. Failure to Disclose Pending Criminal Matter
4             The Debtor has a pending criminal matter in Colorado. See Exhibit G attached hereto,
5             which is the Notice of Defendant’s Arrest in Russia that references the underlying
6             indictment in Colorado. This matter was not disclosed on the Debtor’s statement of
7
              financial affairs. See Statement of Financial Affairs, question # 9 at Exhibit B, bates stamp
8
              page 53 to the UST’s Motion.
9

10                                                  III.
                                          POINTS AND AUTHORITIES
11

12
              A. The Debtor Cannot Serve as the Fiduciary in this Case

13            Caselaw provides that a debtor-in-possession is a fiduciary to the estate and its creditors.

14   "If a Debtor remains in possession-- that is, if a trustee is not appointed-- the Debtor's directors
15
     bear essentially the same fiduciary obligation to creditors as would the trustee for a Debtor out of
16
     possession.” In re Commodity Future Trading Comm'n v. Weintraub, 471 U.S. 343, 355, 105
17
     S.Ct. 1986, 1994, 85 L.ED. 2d 372 (1985). Further, a “…bankruptcy or reorganization trustee is
18

19   a fiduciary of each creditor of the estate… As such, he has a duty to treat all creditors fairly and

20   to exercise that measure of care and diligence that an ordinarily prudent person under similar
21
     circumstances would exercise.” In re Cochise College Park, Inc., 703 F.2d 1339, 1357 (9th Cir.
22
     1983).
23

24            For the reasons set forth above, the Debtor cannot be entrusted as the fiduciary in this

25   case. He pockets rental income but does not insure the property from which the rents are
26   derived. He takes the position that the rents collected since 2018 are tax free even though he
27   has not made a mortgage payment on the property since 2009. The schedules do not
28   acknowledge any taxing entities. In fact, other than the bank, the creditor body consists of the

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1    Debtor’s brother and parents. The debtor-in-possession account was opened by the Debtor’s
2    mother using a Power of Attorney, a copy of which has not been provided to the U.S. Trustee.
3    Further, the Trabuco Canyon Property is owned by a trust, but the Debtor cannot locate the trust
4    instrument. Finally, the Debtor did not disclose a pending criminal matter on his statement of
5    financial affairs. Accordingly, this case should be dismissed or converted to chapter 7.
6           B. Debtor Has not Carried His Burden Under the “Unusual Circumstances” Test
7                Section 1112(b)(2) of the Bankruptcy Code provides:
8
                 (2) The court may not convert a case under this chapter to a case under chapter 7 or
                 dismiss a case under this chapter if the court finds and specifically identifies
9                unusual circumstances establishing that converting or dismissing the case is
                 not in the best interests of creditors and the estate, and the debtor or any other
10               party in interest establishes that—
11
                 (A) there is a reasonable likelihood that a plan will be confirmed within the timeframes
                 established in sections 1121(e) and 1129(e) of this title, or if such sections do not
12               apply, within a reasonable period of time; and
                 (B) the grounds for converting or dismissing the case include an act or omission of the
13               debtor other than under paragraph (4)(A)—
                 (i) for which there exists a reasonable justification for the act or omission; and
14
                 (ii) that will be cured within a reasonable period of time fixed by the court.
15   11 U.S.C. § 1112(b)(2) (emphasis added).
16          The Debtor’s opposition did not and cannot identify unusual circumstances establishing
17   that converting or dismissing this case is not in the best interest of creditors and the estate.
18   Rather, the opposition simply ignores the facts cited above that demonstrate the Debtor is
19   incapable of acting as a fiduciary in this case. The failure to insure the Debtor’s property while at
20   the same time pocketing rents and not servicing debt is not “unusual circumstances” that would
21   preclude conversion or dismissal of this case. Rather, to the contrary, it is evidence of the
22   Debtor’s inability to serve as a fiduciary in this case and the necessity to either dismiss or

23   convert this case. The same analysis applies to the Debtor’s failure to file taxes because of his

24   misplaced belief that the collection of rental income is not taxable. He is entitled to that belief,

25   but not as a fiduciary of this bankruptcy estate.

26          //

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            //

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            //

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1
                                                     IV.
2
                                                 CONCLUSION
3          For the reasons set forth in the U.S. Trustee’s motion and in the above reply, the U.S.
4
     Trustee respectfully requests as follows:
5
           A.     That this Court grant the U.S. Trustee's motion herein and dismiss this case or
6
                  convert this case to one under chapter 7; and
7
           B.     That this Court order such other and further relief as it deems appropriate under
8
                  the circumstances.
9

10
                                                 Respectfully Submitted,
11
                                                 OFFICE OF THE UNITED STATES TRUSTEE
12
     Dated: May 31, 2023                         /s/ Michael Hauser
13
                                                 MICHAEL HAUSER
14                                               Attorney for the U.S. Trustee

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1                                   DECLARATION OF MICHAEL HAUSER
2              I, Michael Hauser, hereby declare and state as follows:
3              1. I am employed as an Attorney by the United States Trustee (“U.S. Trustee”) for
4    Region 16. My duties and responsibilities include the review and analysis of Chapter 11 cases
5    including the case of Jeffrey S. Beier (“Debtor”), case number 8:23-bk-10898-TA. The facts
6    stated herein are within my personal knowledge and if called upon to testify to the same I could
7
     and would testify competently thereto. This declaration is filed in support of the Reply of U.S.
8
     Trustee to Debtor’s Opposition to Motion by United States Trustee to Dismiss Case or Convert
9
     Case to One Under Chapter 7 Pursuant to 11 U.S.C. § 1112(b) in case number 8:23-bk-10898-
10
     TA.
11
               2. Attached hereto at Exhibit C is a true and correct copy of the Compliance Package
12
     submitted by Debtor’s counsel to the U.S. Trustee.
13
               3. Attached hereto at Exhibit D is a true and correct copy of the Debtor-in-Possession
14
     bank account documentation submitted by Debtor’s counsel to the U.S. Trustee.
15
               4. On May 30, 2023, I accessed the PACER docket in case number 8:23-bk-10898-TA,
16
     and printed out docket # 9 which is attached hereto at Exhibit “E”.
17
               5. On May 30, 2023, I accessed the PACER docket in case number 8:23-bk-10898-TA,
18
     and printed out docket # 22 (without exhibits) which is attached hereto at Exhibit “F”.
19
               6. Attached hereto at Exhibit G is a conformed copy of a document titled Order: Notice of
20
     Defendant’s Arrest in Russia, which I obtained from the Arapahoe County District Attorneys
21
     Office.
22
               I declare under penalty of perjury and under the laws of the State of California and the
23   United States of America that the foregoing is true and correct, and if called as a witness I could
     and would completely testify thereto. Executed this 31st day of May 2023 at Santa Ana,
24   California.
25
                                                                    /s/ Michael Hauser
26                                                                     Michael Hauser

27

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                                                        8
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                                    LEGAL DESCRIPTION

Assessor’s Parcel Number: 755-241-13
Site Congressional District: 40th
Census Tract: 320.46
Census Block: 4005
Carrier Route: B016
Tax Rate Area: 83222
Legal Book Page: //1
Legal Description: N-Tract: 15841 Block: Lot: 1




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     Phone and Fax: (949) 218-2002
 3   avaesq@lakeforestbkoffice.com
     ATTORNEY FOR DEBTOR-IN-POSSESSION
 4   JEFFREY SCOTT BEIER

 5

 6

 7

 8                   UNITED STATES BANKRUPTCY COURTS
              CENTRAL DISTRICT OF CALIFORNIA-SANTA ANA DIVISION
 9

10   In Re: JEFFREY SCOTT BEIER           )   BK. No. 8:23-bk-10898-TA
                                          )
11                                        )   Chapter 11
                                          )
                                          )   DECLARATION IN SUPPORT OF
12                                        )   MOTION TO CONTINUE THE
                                          )   AUTOMATIC STAY
13                                        )
                                          )   JUDGE
                                          )   Hon. Theodor Albert
14                                        )
                                          )   HEARING
15                                        )   Date: May 23rd, 2023
                                          )   Time: 10:30 A.M.
16                                        )   Place: 411 West Fourth Street #5B, Santa
                                          )   Ana, CA 92701 (By Zoom.gov)
                                          )
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                                    DECLARATION
26                                   Exhibit "E"                                         076
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 1        I, JEFFREY SCOTT BEIER, declare as follows:

 2     1. I am over the age of 18 years old and I am legally able and competent to testify to the

 3        following in a court of law if required to do so.

 4     2. I am the Debtor-In-Possession for Chapter 11 Bankruptcy Case In Re: Jeffrey Scott Beier

 5        8:23-bk-10898-TA.

 6     3. I own the real property located at 10 Tucson, Trabuco Canyon, Ca 92679 (“10 Tucson”).

 7     4. I receive now, and have received, offers to purchase this property. Most of the offers

 8        indicate that the property could be sold for $3,200,000. Based upon these offers, and my

 9        own opinion of the property, I believe this is an accurate representation of the value of 10

10        Tucson.

11     5. For the past two years I have been renting out this property.

12     6. In 2021 I rented, and received rents from, this property for approximately $6000 a month.

13     7. In 2022 I rented, and received rents from, this property for $7,500 a month.

14     8. In 2023 I rented, and received rents from, this property for January, February and March

15        2023 at $7,500 a month.

16     9. My current tenant is leaving on May 15th, 2023 and we need to re-lease the property to

17        allow for proper maintenance and continued financial stability through the process of the

18        Chapter 11.

19     10. There is a disputed 1st mortgage on the property going back to the financial crisis of

20        2007/2008 with Bear Stearns that was part of my prior bankruptcy case and subsequent

21        sale of Bear Stearns’s stock and assets to JP Morgan Chase.

22     11. I am now, and have been, in litigation with JP Morgan Chase. Bank of America states they

23        are the servicing agent and has been the front for the litigation. During the previous 15

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26                                           Exhibit "E"                                         077
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 1        years Bank of America has stated 6 different banks have declined my request for

 2        modification and they have stated 6 different entities had right and title to the 1st mortgage

 3        deed. When I have asked to speak to the bank(s) regarding the 1st lien position – Bank of

 4        America has refused to allow any discussions. They state they are the servicer – they have

 5        100% authority and only they speak to the bank(s). However, in the case of modification

 6        we have evidence they never asked a single bank to modify a single loan. We also have

 7        evidence they intend to benefit for foreclosure as opposed to use the government funds to

 8        modify loans as they were instructed to do. Uniquely – they also claim different banks

 9        have the 1st lien position at the same time – Six to date, possibly 7. While we litigate these

10        claims – we would like to maintain a tenant to cover the cost of the maintenance on the

11        property.

12     12. Bank of America asserts that they are entitled to approximately $2,7575,616.

13     13. While I do not agree with Bank of America’s assertion as to its ownership or value of this

14        lien, presuming Bank of America is correct, there is approximately $400,000 in equity in

15        this property.

16     14. I currently reside in Moscow, Russia but I use 10 Tucson as my address in the United States

17        for all other purposes.

18     15. I live in a different time zone from my counsel. I am 10 hours ahead.

19     16. My counsel and I schedule meetings at 6:00 A.M. to discuss this case.

20     17. My initial Chapter 7 filing was filed on March 17th, 2023.

21     18. My initial filing was filed as an emergency filing to stop a pending foreclosure prosecuted

22        by Bank of America, National Association.

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26                                           Exhibit "E"                                          078
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 1     19. My counsel and I did not have time to put together a complete petition before the 14 days

 2        had expired after fiing.

 3     20. My Plan of Re-Organization – which I intend to file is to rent out the property located at

 4        10 Tucson for one year, pending inflation, the economy, the value of USD in the market &

 5        the results of the active litigation with the banks at the conclusion of 1 year. It would be

 6        my desire to sell the property in 1 year – if conditions permit. Otherwise – to rent the

 7        property – Until the litigation is completed and conditions permit. And then to sell the

 8        property when it pleases the court maximizing the conditions to satisfy outstanding

 9        creditors and hopefully providing for some or all of the 1.5 Million invested in the property

10        of 10 Tucson.

11     21. I make these declarations under penalty of perjury of the laws of the United States and

12        know that they are true.

13        Dated: May 2nd, 2023                  Signed:_________________________
                                                       JEFFREY SCOTT BEIER
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  1   Gregory P. Campbell (CA SBN 281732)
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  5   Facsimile: (619) 590-1385
  6   Attorneys for Creditor THE BANK OF NEW
      YORK MELLON FKA THE BANK OF NEW
  7   YORK SUCCESSOR TRUSTEE TO
      JPMORGAN CHASE BANK, N.A., AS
  8   TRUSTEE FOR THE BEAR STEARNS ALT-
      A TRUST, MORTGAGE PASS-THROUGH
  9   CERTIFICATES, SERIES 2005-04
 10
                              UNITED STATES BANKRUPTCY COURT
 11
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 12
       In re                                               Case No. 8:23-bk-10898-TA
 13
       JEFFREY S BEIER,                                    Chapter 11
 14

 15                   Debtor(s).                           OPPOSITION TO DEBTOR’S MOTION
                                                           FOR ORDER IMPOSING STAY [DKT
 16                                                        NO. 9]

 17                                                        SUBJECT PROPERTY :
                                                           10 Tucson, Coto De Caza Area,
 18                                                        California 92679

 19                                                        HEARING:
                                                           Date: May 23, 2023
 20                                                        Time: 10:30 a.m.
                                                           Ctrm: Crtrm 5B, 411 W Fourth St., Santa
 21                                                              Ana, CA 92701.

 22

 23            THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK SUCCESSOR

 24 TRUSTEE TO JPMORGAN CHASE BANK, N.A., AS TRUSTEE FOR THE BEAR STEARNS

 25 ALT-A TRUST,          MORTGAGE PASS-THROUGH                  CERTIFICATES, SERIES 2005-04

 26 (“Creditor”),by and through its authorized loan servicer, Bank of America Mortgage (“BANA”) secured

 27 creditor of the above captioned Debtor, Jeffrey S Beier (“Debtor”) hereby submits its Opposition to

 28 Debtor’s Motion for Imposing Stay (“Opposition”) filed by the Debtor at Docket No. 9.

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                                       Exhibit "F"                                         091
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                                           I.       INTRODUCTION
  2

  3          Debtor files the instant Motion for Order Imposing a Stay or Continuing the Automatic Stay
  4 (“Motion to Extend Stay”) seeking a court order extending the automatic stay under 11 U.S.C.

  5 §§362(c)(3)(B) & (C) as the instant case represents the second bankruptcy filing within the last year and

  6 Debtor’s Fifth Bankruptcy Case. However, Creditor asserts Debtor failed to meet his burden ofproof

  7 to demonstrate the stay should be extended. A presumption of bad faith applies under the Bankruptcy

  8 Code as the Court dismissed the prior case within the last year based on Debtor’s failure to comply with

  9 the provisions of the Code and a Court Order. Creditor has been unable to exercise its rights under state

 10 law as Debtor has filed multiple bankruptcy cases and state court lawsuits to hinder or delay Creditor’s

 11 rights. Debtor filed the instant Bankruptcy Case on the eve of the scheduled foreclosure, a sale Creditor

 12 has been attempting to complete for years. While Debtor alleged the stay should be imposed as to the

 13 Property, Debtor’s Schedules suggest title to the Property is held in the name of a trust. Debtor hasfailed

 14 to rebut the presumption of bad faith with clear and convincing evidence to the contrary.

 15           Further, Debtor has failed to present sufficient evidence of a substantial change in circumstances
 16 to justify re-imposing the stay. While Debtor alleges he filed the instant Bankruptcy Case in good faith

 17 as he was out of the country when he filed the prior case, there is no evidence to suggest Debtor’s

 18 financial circumstances have improved since the dismissal of the Fourth Case. Further, based on the

 19 United States Trustee’s Motion to Dismiss, Debtor has continued his pattern of non-compliance. While

 20 the Debtor alleged the Property is rented and will be sold, the Debtor failed to list income on ScheduleI,

 21 and the Debtor’s Declaration suggests the tenant has since vacated the Property. Debtor has failed to

 22 show a significant change in circumstances to overcome the presumption of bad faith to justify a new

 23 filing or imposition of the automatic stay. As a result, the Motion to Extend the Stay must be denied.

 24 /././

 25 /././

 26 /././

 27 /././

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                                                              119
  1                                           II. STATEMENT OF FACTS1
  2         A. THE SUBJECT LOAN
  3              On March 2, 2005, Debtor and Toni Beier (the “Borrowers”) executed a promissory note (the
  4 “Note”) in the original sum of $1,470,000.00. The Note reflects it was indorsed. The Note is secured by

  5 a Deed of Trust (“Deed of Trust”) granting an interest in the real property located at 10 Tucson, Coto

  6 De Caza Area, California 92679 (“Property”). The Deed of Trust reflects that it was duly recorded in

  7 the County Recorder’s Office. The Note and Deed of Trust are collectively referred to as the “Subject

  8 Loan”. Subsequently, interest in the Subject Loan was assigned to Creditor. Copies of the Note, Deed,

  9 and Assignment are collectively attached hereto as Exhibit 1.

 10         B. THE FORECLOSURE
 11              On October 14, 2022, Creditor recorded its most recent Notice of Default (“NOD”), which
 12       listed a contractual default of $1,885,886.84. A copy of the NOD is attached hereto as Exhibit 2.
 13              On January 24, 2023, Creditor recorded its most recent Notice of Sale (“NOS”), which listed a
 14       sale date of March 20, 2023. A copy of the NOS is attached hereto as Exhibit 3.
 15              Due to the multiple bankruptcy cases filed by the Debtor, Creditor postponed the sale, which is
 16       currently scheduled for June 2, 2023.
 17         C. STATE COURT LITIGATION
 18              On or about March 7, 2017, Debtor filed a Complaint in the Superior Court of California,
 19 County of Orange against Creditor and BANA and was assigned Case 30-2017-00907172, challenging

 20 standing and the rights of the defendants to proceed with foreclosure. The defendants obtained summary

 21 judgment dismissing the case, and that dismissal was upheld at the California Court of Appeal and then

 22 at the California Supreme Court.

 23              On March 8, 2023, Debtor filed another Complaint in the Superior Court of California, County
 24 of Orange against Creditor and BANA and was assigned Case No. 30-2023-01312331 (“State Court

 25 Complaint”) again challenging standing and the rights of the defendants to proceed with foreclosure.

 26
      1
          Pursuant to Rules 201(b) and 201(d) of the Federal Rules of Evidence, which are made applicable to this
 27 proceeding by Rule 9017 of the Federal Rules of Bankruptcy Procedure, Creditor requests that the Court take
      judicial notice of the documents and other records on file in the this case and any recorded documents.
 28

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                                              Exhibit "F"                                              093
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  1 Further, Debtor filed an Ex Parte Application for a TRO to stay the scheduled foreclosure sale.

  2           On March 17, 2023, the State Court entered an order denying the TRO.
  3           On April 20, 2023, Creditor filed a Motion to Dismiss the Complaint. A hearing on the Motion
  4 to Dismiss is scheduled for May 25, 2023.

  5           The State Court proceedings are now stayed due to the Bankruptcy filing.
  6           A copy of the State Court docket is attached hereto as Exhibit 4.
  7         D. THE PRIOR BANKRUPTCY CASES
  8           On April 25, 2008, Borrowers filed a prior bankruptcy petition under Chapter7 of the
  9 Bankruptcy Code and were assigned Case No. 8:08-bk-12163-RK (the “First Case”). On August 21,

 10 2008, the Court entered a Discharge Order in the First Case. On January 13, 2009, the Court entered

 11 an Order Dismissing the First Case. A copy of the docket from the First Case is attached hereto as

 12 Exhibit 5.

 13           On February 11, 2009, Debtor filed a second prior bankruptcy petition under Chapter 13 of the
 14 Bankruptcy Code and was assigned Case No. 8:09-bk-11124-TA (the “Second Case”). On October 1,

 15 2009, the Court entered an Order Dismissing the Second Case. A copy of the docket from the Second

 16 Case is attached hereto as Exhibit 6.

 17           On July 1, 2010, Debtor filed a third voluntary bankruptcy petition under Chapter 7 of the
 18 Bankruptcy Code and was assigned Case No. 8:10-bk-19081-TA (the “Third Case”). On March 10,

 19 2011, the Court entered an Order Dismissing the Third Case. A copy of the docket from the Third Case

 20 is attached hereto as Exhibit 7.

 21           On March 17, 2023, three (3) days before the scheduled foreclosure sale, Debtor filed a
 22 fourth voluntary bankruptcy petition under Chapter 7 of the Bankruptcy Code and was assigned Case

 23 No. 8:23-bk-10556-TA (the “Fourth Case”).Notably, Debtor listed the Subject Property as his service

 24 address on PACER. Further, Debtor listed the Subject Property as his address on the petition in the

 25 Fourth Case. (See Fourth Case, Dkt No. 1).

 26 /././

 27 /././

 28

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                                         Exhibit "F"                                          094
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  1           On April 4, 2023, the Court entered an Order Dismissing the Fourth Case based on the Debtor’s
  2 failure to file required information. A copy of the docket from the Fourth Case is attached hereto as

  3 Exhibit 8.

  4

  5       C. THE INSTANT BANKRUPTCY CASE
  6           On April 28, 2023, Debtor filed the instant fifth voluntary petition under Chapter 11 of the
  7 Bankruptcy Code in the Central District of California – Santa Ana Division and was assigned

  8 bankruptcy case number 8:23-bk-10898-TA (the “Bankruptcy Case”). The Petition states the Debtor

  9 now lives in Moscow, Russia. At the same time, Debtor stated he is filing in this District as over the last

 10 180 days he has lived in this District longer than any other district. (See Dkt. No. 1).

 11           Pursuant to the sworn Bankruptcy Schedules, Debtor listed no income on Schedule I. Further,
 12 Debtor failed to list any expenses associated with the Subject Loan/Property on Schedule J (i.e. the

 13 mortgage payments, taxes, or insurance). At the same time, Debtor’s Statement of Financial Affairs

 14 suggests the Debtor earns rental income and receives family contributions. (See Dkt No. 1).

 15           The Subject Property is the only Property listed on Schedule A, with an alleged value of
 16 $3,117,300.00. Creditor’s Claim is listed a disputed on Schedule D in the amount of $2,757,616.00.

 17 Further, Debtor indicated on Schedule B that the Beier 10 Tucson Trust “may be the title owner to the

 18 real property.” (See Dkt No. 1).

 19           On May 2, 2023, Debtor filed a Motion to Impose or Extend the Automatic Stay (“Motion to
 20 Extend Stay”). (Dkt No. 9). In the Motion to Extend, Debtor requested the extension of the automatic

 21 stay under §362(c)(3). Debtor alleged the instant fifth Bankruptcy Case was filed in good faith as the

 22 “Debtor is intending to utilize his real property to generate income in a plan of reorganization and there

 23 is a sufficient equity cushion.” Debtor alleges he will generate income from renting the Property for

 24 approximately one year and then sell the Property at the end of the year. Further, Debtor alleged the

 25 presumption of bad faith should not apply as the original case was filed as an emergency petition…after

 26 due diligence was performed by Debtor’s counsel it became impossible to prepare the necessary

 27 paperwork to finish the petition within the necessary time period because the Debtor lives outside the

 28

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                                          Exhibit "F"                                            095
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  1 country.

  2           Pursuant to the Debtor’s Declaration in Support of the Motion, the Property is currently rented
  3 for $7,500 per month, but the tenant is leaving on May 15, 2023.

  4           On May 10, 2023, the United States Trustee filed a Motion to Dismiss the Bankruptcy Case
  5 (“Motion to Dismiss”) based on failure timely to provide information or attend meetings reasonably

  6 requested by the United States Trustee. Debtor has not complied with any of the requirements set forth

  7 in the U.S. Trustee’s Guidelines and Requirements, including but not limited to the Debtor’s failure to

  8 provide the U.S. Trustee with (1) evidence that all pre-petition bank accounts have been closed; (2)

  9 evidence that debtor-in-possession bank accounts have been opened; and (3) proof of insurance covering

 10 liability as it relates to the Debtor’s Trabuco Canyon Property. (Dkt No. 18). According, Debtor has

 11 continued his pattern of non-compliance with the provisions of the Bankruptcy Code and Bankruptcy

 12 Rules.

 13
                                                   III. ARGUMENT
 14
          A. DEBTOR HAS FAILED TO MEET HIS BURDEN TO JUSTIFY AN EXTENSION OF
 15          THE AUTOMATIC STAY
 16           1.      Legal Standard
 17           Section 362(c)(3)(A) of the Bankruptcy Code provides, “if a single or joint case is filed by or
 18 against debtor who is an individual in a case under chapter 7, 11, or 13, and if a single or joint case of

 19 the debtor was pending within the preceding 1-year period but was dismissed,…the stay under [§362(a)]

 20 with respect to any action taken with respect to a debt or property securing such debt…shall terminate

 21 with respect to the debtor on the 30 th day after the filing of the latter case.”11 U.S.C. § 362(c)(3)(A). On

 22 the motion of a party in interest for continuation of the automatic stay and upon notice and a hearing,

 23 “the court may extend the stay in particular cases as to any or all creditors…after notice and a hearing

 24 completed before expiration of the 30-day period only if the party in interest demonstrates that the

 25 filing of the latter case is in good faith as to the creditors to be stayed.” 11 U.S.C. §362(c)(3)(B)

 26 (emphasis added). A case is presumptively not filed in good faith:

 27
              (i)     as to all creditors, if:
 28

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                                            Exhibit "F"                                            096
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  1                  (I)      more than 1 previous case under any of chapters 7, 11, and 13 in which
                              the individual was a debtor was pending within the preceding 1-year
  2                           period;
  3                  (II)     a previous case under any of chapter 7, 11, and 13 in which the
                              individual was a debtor was dismissed within such 1-year period,
  4                                 after the debtor failed to:
  5                           (aa)    file or amend the petition or other documents as required by the
                                      title or the court without substantial excuse…;
  6                           (bb)    provide adequate protection as ordered by the court; or
                              (cc)    perform the terms of a plan confirmed by the court; or
  7
                     (III)    there has not been a substantial change in the financial or personal
  8                           affairs of the debtor since the dismissal of the next most previous case
                              under chapter 7, 11, or 13 or any other reason to conclude that the later
  9                           case will be concluded with a discharge if filed under chapter 7 or a plan
                              that will be fully performed if filed under chapters 11 or 13.
 10
             (ii)    as to any creditor that commenced an action under subsection (d) in a previous
 11                  case in which the individual was a debtor if, as of the date of dismissal of such
                     case, that      action was still pending or had been resolved by terminating,
 12                  conditioning, or limiting the stay as to actions of such creditor…

 13

 14 11 U.S.C. § 363(c)(3)(C)(i)-(ii). The debtor bears the ultimate burden of persuasion to demonstrate

 15 through clear and convincing evidence to the contrary that the presumption of bad faith does not

 16 apply. In re Casteneda, 342 B.R. 90, 94 (Bankr. S.D. Cal. 2006); 11 U.S.C. § 362(c)(3)(C).

 17          2.      This Case Was Presumptively Filed in Bad Faith.

 18          The instant case was not filed in good faith as a matter of fact and law. Indeed, the presumption

 19 prescribed by section 362(c)(3) applies in this case. First, the presumption arises because Debtor’s

 20 Fourth Case was pending within the preceding year of this case. See 11 U.S.C. § 362(c)(3)(C)(i)(I).

 21 Second, the presumption arises because Debtor’s Fourth Case was dismissed, in part, based on Debtor’s

 22 failure to comply with the provisions of the Bankruptcy Code, file required documents, or comply with a

 23 Court Order. 11 U.S.C. § 362(c)(3)(C)(i)(II). Debtor fails to offer a reasonable explanation as to why he

 24 failed to comply with the provisions of the Bankruptcy Code in the Fourth Case (or prior cases, or this

 25 case). While Debtor alleged he lives out of the country, Debtor alleged on the Fourth Case petition that

 26 he resided as the Subject Property as of the filing of the Fourth Case. Further, residing in a different

 27 county does not alleviate the Debtor from the requirements of the Bankruptcy Code and Rules. Creditor

 28 questions whether the Debtor’s residence outside of the United States qualifies the Debtor to file the

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                                          Exhibit "F"                                             097
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  1 instant Bankruptcy Case in this District. Third, as discussed in greater detail below, the presumption

  2 arises as Debtor has failed to demonstrate a substantial change in his financial affairs since the dismissal

  3 of the Fourth Case. 11 U.S.C. § 362(c)(3)(C)(i)(III). In light of the foregoing, Debtor has the burden of

  4 establishing by clear and convincing evidence that this case was filed in good faith. Debtor has failed

  5 to do so.

  6           3.      Debtor Fails to Rebut the Presumption with a Change in Circumstances.
  7           Debtor failed to provide an adequate explanation as to how Debtor’s financial circumstances
  8 have improved to suggest the instant case will lead towards a confirmed plan. Other than the Debtor’s

  9 Declaration, the Motion to Extend the Stay fails to include any evidence to support Debtor’s assertions.

 10           First, this is the Debtor’s fifth bankruptcy case. Over the last decade, Debtor repeatedly failed to
 11 comply with the provisions of the Bankruptcy Code or complete a plan of reorganization.

 12           Second, Debtor alleged the stay should be imposed in the instant Bankruptcy Case as “Debtor is
 13 intending to utilize his real property to generate income in a plan of reorganization and there is a

 14 sufficient equity cushion.” Debtor alleged he will generate income from renting the Property for

 15 approximately one year and then sell the Property at the end of the year. Further, Debtor alleged the

 16 presumption of bad faith should not apply as the original case was filed as an emergency petition…after

 17 due diligence was performed by Debtor’s counsel it became impossible to prepare the necessary

 18 paperwork to finish the petition within the necessary time period because the Debtor lives outside the

 19 country.

 20            Regardless of where the Debtor resides, the Debtor’s pattern of non-compliance hascontinued in
 21 this case. Indeed, the United States Trustee filed a Motion to Dismiss based on Debtor’s failure timely to

 22 provide information or attend meetings reasonably requested by the United States Trustee. Debtor has

 23 not complied with any of the requirements set forth in the U.S. Trustee’s Guidelines and Requirements,

 24 including but not limited to the Debtor’s failure to provide the U.S. Trustee with (1) evidence that all

 25 pre-petition bank accounts have been closed; (2) evidence that debtor-in-possession bank accountshave

 26 been opened; and (3) proof of insurance covering liability as it relates to the Debtor’s Trabuco Canyon

 27 Property. (Dkt No. 18). According, Debtor’s circumstances have not improved as Debtor has continued

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                                           Exhibit "F"                                              098
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  1 his pattern of non-compliance with the provisions of the Bankruptcy Code and Bankruptcy Rules.

  2           Pursuant to the Debtor’s Declaration , the Property is currently rented for $7,500 per month, but
  3 the tenant is leaving on May 15, 2023. Accordingly, the Debtor will not have income to pay the Claim.

  4 Further, the alleged rental income of $7,500 per month is less than the contractual payment of

  5 $9,326.89. However, pursuant to the sworn Bankruptcy Schedules, Debtor listed no income on

  6 Schedule I. Further, Debtor failed to list any expenses associated with the Subject Loan/Property on

  7 Schedule J (i.e. the mortgage payments, taxes, or insurance). At the same time, Debtor’s Statement of

  8 Financial Affairs suggests the Debtor earns rental income and receives family contributions. (See Dkt

  9 No. 1).

 10           While the Debtor alleges the Property will be sold, Debtor has yet to employ a broker to list the
 11 Property for sale or employed an appraiser. If the Debtor truly intended to sell the Property and pay

 12 Creditor’s Claim in full, he would have done so prior to the scheduled foreclosure sale. Rather, Debtor

 13 has failed to make payments on the loan for over a decade. The Subject Loan is contractually due for the

 14 September 1, 2007 payment. Debtor has filed multiple lawsuits and five Bankruptcy cases to delay the

 15 foreclosure of the Property. Creditor does not believe the Debtor has any intention of paying Creditor’s

 16 Claim or selling the Property.

 17           There is no indication the Debtor’s financial circumstances have improved since the dismissal of
 18 the Fourth Case. If anything, the Debtor’s financial circumstance has declined due to missed payments,

 19 the loss of income, and the continued accrual of interest and fees on the Debtor’s secured obligations.

 20 Thus, there has not been a substantial change in the financial or personal affairs of Debtor since the

 21 dismissal of the Fourth Case or any other reason to conclude that the instant Bankruptcy Case will result

 22 in a confirmed Plan.

 23           Moreover, Debtor is already in violation of the Bankruptcy Code and Rules as outlined in the
 24 Motion to Dismiss.

 25           Accordingly, Debtor has failed to meet his burden through clear and convincing evidence to
 26 the contrary that the presumption of bad faith does not apply. As a result, the Motion to Extend must be

 27 denied.

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                                          Exhibit "F"                                            099
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  1           4.      There is No Likelihood of a Successful Reorganization
  2           In United Sav. Ass’n v. Timbers, the Supreme Court stated that, “there must be a reasonable
  3 possibility of a successful reorganization within a reasonable time.” United Sav. Ass’n. of Texas v.

  4 Timbers of Inwood Forest Associates, Ltd, 484 U.S. 365, 376 (1988).

  5           First, there is insufficient equity in the Property. The Subject Property is the only Property listed
  6 on Schedule A, with an alleged value of $3,117,300.00. Creditor’s Claim is listed a disputed on

  7 Schedule D in the amount of $2,757,616.00. Even if the Debtor’s valuation is accurate, when an eight

  8 percent (8%) cost of sale is included ($249,384.00), the resulting equity cushion is only $109,850.00.

  9 As the Debtor proposes to make no payments to creditor, the amount of Creditor’s Claim will continue

 10 to increase, depleting any available equity in the Property. Accordingly, there is insufficient equity to

 11 support a sale or Plan of reorganization or liquidation. As there is little to no equity in the Property to

 12 pay claims, there is no prospect of a successful reorganization within the foreseeable future.

 13           Second, Debtor indicated on Schedule B that the Beier 10 Tucson Trust “may be the title owner
 14 to the real property.” (See Dkt No. 1). If the Debtor does not own the Property, it is not property of the

 15 Bankruptcy Estate.

 16           Finally, there is no indication Debtor generates sufficient income to cure the substantial default
 17 on Creditor’s Claim, resume contractual payments, and pay unsecured creditors through a Plan.

 18 Pursuant to the Debtor’s Declaration in Support of the Motion to Extend, the Property is currently

 19 rented for $7,500 per month, but the tenant is leaving on May 15, 2023. Accordingly, the Debtor will

 20 not have income to pay the Claim. Further, the alleged rental income of $7,500 per month is less than

 21 the contractual payments of $9,326.89. However, pursuant to the sworn Bankruptcy Schedules, Debtor

 22 listed no income on Schedule I. Further, Debtor failed to list any expenses associated with the Subject

 23 Loan/Property on Schedule J (i.e. the mortgage payments, taxes, or insurance).

 24           Put simply, Debtor has already been granted an opportunity to reorganize his debts. Debtor
 25 failed to present any evidence or even an explanation to suggest this Chapter 11 will be feasible given

 26 Debtor’s prior defaults, prior cases, and inability to comply with the provisions of the Bankruptcy Code.

 27           Creditor asserts Debtor’s financial circumstance has not substantially improved. If anything,
 28

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                                           Exhibit "F"                                               100
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  1 Debtor’s financial circumstance is worse as the contractual arrears owed on Creditor’s Claim have

  2 increased due to interest and fees. If Debtor truly intended to reorganize his debts, he would have availed

  3 himself of the reorganization protections of the Bankruptcy Code during the prior cases. Debtor has

  4 improperly sought to use this Bankruptcy Court as a revolving door through five consecutive

  5 bankruptcy cases and multiple state court lawsuits to delay Creditor’s rights under state law. As the

  6 instant case represents the second bankruptcy case within one year, it does not appear the Debtor filed

  7 the case in good faith.

  8           Debtor bears the ultimate burden of persuasion to demonstrate through clear and convincing
  9 evidence to the contrary that the presumption of bad faith does not apply. Debtor has failed to submit

 10 any evidence to demonstrate that the presumption does not apply. As a result, Debtor has failed to meet

 11 his burden. Simply put, the totality of the circumstances reflects that Debtor filed this case for no other

 12 purpose than to delay and hinder creditor rights under state law. As a result, the Motion to Extend the

 13 Stay should be denied.

 14 WHEREFORE: Creditor respectfully request:

 15           1.      That the Court deny the Motion to Extend the Stay; and
 16           2.      Such other relief as the Court deems just and proper.
 17                                                   Respectfully submitted,
 18                                                   ALDRIDGE PITE, LLP
 19

 20 Dated: May 11, 2023                               /s/ Gregory P. Campbell
                                                      Gregory P. Campbell (CA SBN 281732)
 21                                                   Attorneys for Creditor
 22

 23

 24

 25

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                                        PROOF OF SERVICE OF DOCUMENT
    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              8880 Rio San Diego Drive, Suite 725 San Diego, CA 92108

A true and correct copy of the foregoing document entitled: Opposition to Debtor’s Motion for Order Imposing Stay [DKT
No. 9] will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
    May 11, 2023                            , I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission
at the email addresses stated below:

U.S. TRUSTEE:
ustpregion16.sa.ecf@usdoj.gov
Michael J Hauser- michael.hauser@usdoj.gov

ATTORNEY FOR DEBTOR:
Anerio V Altman - LakeForestBankruptcy@jubileebk.net

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)         May 11, 2023 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

PRESIDING JUDGE:
Honorable Theodor Albert
U.S. Bankruptcy Court Central District Of California (Santa Ana)
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5085/ Courtroom 5B
Santa Ana, CA 92701-4593

DEBTOR:
Jeffrey Beier
PO Box 7644
Laguna Niguel, CA 92677

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


05/11/2023                   Lauren Timby                                                  /s/ Lauren Timby
Date                           Printed name                                                        Signature
        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                     F 9013-3.1.PROOF.SERVICE
                                                                 Exhibit "F"                                                           102
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DISTRICT COURT, ARAPAHOE COUNTY, COLORADO
Court Address:
7325 S POTOMAC ST, CENTENNIAL, CO, 80112
                                                                         DATE FILED: May 28, 2020 3:18 PM
THE PEOPLE OF THE STATE OF COLORADO                                      CASE NUMBER: 2019CR2493
v.
Defendant(s) JEFFREY SCOTT BEIER



                                                                                            COURT USE ONLY
                                                                                Case Number: 2019CR2493
                                                                                Division: 206     Courtroom:

                           Order:NOTICE OF DEFENDANTS ARREST IN RUSSIA DA-1

The motion/proposed order attached hereto: ACTION TAKEN.

Pursuant to the previous order of Chief Judge Michelle Amico, the indictment is unsealed.


Issue Date: 5/28/2020




DARREN LOUIS VAHLE
District Court Judge




                                                Exhibit "G"                                              103
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DISTRICT COURT
ARAPAHOE COUNTY, COLORADO
Court Address: Arapahoe County Justice Center
7325 South Potomac Street, Centennial, CO 80112
IN RE: 2019 ARAPAHOE COUNTY GRAND JURY:

JEFFREY BEIER




                                                                                          3
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                                                     COURT USE ONLY 
GEORGE H. BRAUCHLER, Reg. No. 25910




                                                                             R2
District Attorney, Eighteenth Judicial District
                                                Case Number:
JOHN E. KELLNER, Reg. No. 37937
                                                           19CR2493




                                                                     9C
Chief Deputy District Attorney
                                                Division/Ctrm:
6450 South Revere Parkway
                                                              206
Centennial, CO 80111




                                                               01
Phone: (720) 874-8500
                     NOTICE OF DEFENDANT’S ARREST IN RUSSIA [DA-1]



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        GEORGE H. BRAUCHLER, District Attorney in and for the Eighteenth Judicial District,
State of Colorado, by and through his duly authorized Chief Deputy District Attorney, herein notifies
                                                  er
this Honorable Court of the defendant’s arrest in Russia and that the condition to automatically
                                             rd
unseal the indictment has been met.
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        1.    On August 9, 2019, the 2019 Arapahoe County Grand Jury presented the Honorable
Chief Judge Amico with an Indictment in the above-captioned case. An arrest warrant was issued and
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Chief Judge Amico set a no-bond hold.
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        2.      On August 9, 2019, Judge Amico also issued an Order to Seal the indictment until the
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Defendant is in custody. The Order states: “Once the Defendant is placed under arrest, the Indictment
shall be automatically un-sealed.”
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        3.       In coordination with the Federal Bureau of Investigation, Interpol, and Russian
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authorities, the Defendant was arrested in Russia on March 11, 2020. People’s Ex. 1 is the official
notification from the Russian Prosecutor General’s Office along with a translated copy of the text.
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       4.      On April 10, 2020, the Judge of the Moscow Nikulinsky District Court, A.V.
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Bobkov, ordered the Defendant to remain in custody until September 11, 2020, pending extradition
to Colorado to face the charges in this case. People’s Ex. 2. The District Attorney is actively
coordinating with the U.S. Department of Justice to finalize the Defendant’s extradition.

        5.       Chief Judge Amico issued a self-executing order to automatically unseal the
Indictment upon Defendant’s arrest and the People herein notify the Court that the condition (arrest)
has been met. The Defendant’s proceedings in Russia are public and it has come to the People’s
attention that the Defendant’s legal team in Russia have contacted U.S. citizens about his case. Also,
because the indictment was automatically unsealed upon Defendant’s arrest, the People have notified
the victim’s family of the status of the case. Because this is a case of great public interest with
ongoing proceedings in Russia, the People thought it would be prudent to notify the Court of




                                          Exhibit "G"                                           104
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Defendant’s arrest so that the Court can unseal the indictment.

       WHEREFORE, the People respectfully notify the Court of Defendant’s arrest and that Chief
Judge Amico’s automatic unsealing Order has been triggered.


                                                       GEORGE H. BRAUCHLER,
                                                       District Attorney




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                                               By:
                                                       John Kellner, Reg. #37937




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                                                       Chief Deputy District Attorney




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                                           Exhibit "G"                                    105
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1                                   PROOF OF SERVICE OF DOCUMENT
2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3
     OFFICE OF THE UNITED STATES TRUSTEE, 411 WEST FOURTH ST., SUITE 7160, SANTA ANA, CA 92701
4

5    A true and correct copy of the foregoing document entitled REPLY OF U.S. TRUSTEE TO DEBTOR’S
     OPPOSITION TO MOTION BY UNITED STATES TRUSTEE TO DISMISS CASE OR CONVERT
6    CASE TO ONE UNDER CHAPTER 7 PURSUANT TO 11 U.S.C.§ 1112(b) will be served or was served
     (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
7    stated below:

8    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
     General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
9    document. On May 31, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
     determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
10   addresses stated below:
11
         •   Anerio V Altman LakeForestBankruptcy@jubileebk.net, lakeforestpacer@gmail.com
12       •   Greg P Campbell ch11ecf@aldridgepite.com,
             gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
13       •   Michael J Hauser michael.hauser@usdoj.gov
14
         •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

15   2. SERVED BY UNITED STATES MAIL: On May 31, 2023, I served the following persons and/or entities at the last
     known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
16   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
     here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
17   is filed.

18   Jeffrey S Beier
     P O Box 7644
19
     Laguna Niguel, CA 92677
20

21   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
     method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 31, 2023, I
22   served the following persons and/or entities by personal delivery, overnight mail service, or (for those
     who1consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the
23
     judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no
24   later than 24 hours after the document is filed.

25   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

26   DATED: 5/31/23                             Tari King                   s/s Tari King

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